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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                   Middle District
                                                 __________        of of
                                                            District  Louisiana
                                                                         __________

                  United States of America                        )
                             v.                                   )
                    MATTHEW WALSH
                                                                  )      Case No.
                                                                  )                 21-MJ-37
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   March 24, 2021              in the county of         East Baton Rouge          in the
        Middle         District of           Louisiana        , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. 875(c)                               Communicating Threats in Interstate Commerce




          This criminal complaint is based on these facts:
See Affidavit




          ✔ Continued on the attached sheet.
          u
                                                                                               Digitally signed by Briana
                                                                             Briana            Zuroske
                                                                                               Date: 2021.04.01 12:25:25
                                                                             Zuroske           -05'00'

                                                                                             Complainant’s signature

                                                                                    Briana Zuroske, Special Agent, FBI
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:             04/01/2021                                                                S   Judge’s signature

City and state:                         Baton Rouge, LA                               United States Magistrate Judge
                                                                                              Printed name and title
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                                            AFFIDAVIT

          I, Special Agent Briana Zuroske of the Federal Bureau of Investigation being duly sworn,

hereby depose and state the following is true to the best of my information, knowledge, and

belief:

          1.     I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have

been since May 2017. I am currently assigned to the FBI New Orleans Field Office at the Baton

Rouge Resident Agency in Louisiana. Currently, I am working on the Baton Rouge Capital Area

Gang Task Force investigating violent crimes in the Baton Rouge area and nationwide. As part

of my duties as an FBI Special Agent, I investigate criminal violations relating to violent crimes,

criminal enterprises, murder for hire involving interstate communications, firearms, and

narcotics offenses, including but not limited to Title 18, United States Code, Sections 1956,

1957, and 1958, and Title 21, United States Code, Sections 841, 843, 846, 848, 952 and 963. As

a federal agent, I am authorized to investigate violations of federal law, and I am a law

enforcement officer with the authority to execute warrants issued under the authority of the

United States.

          2.     This affidavit is submitted in support of an arrest warrant and criminal complaint

charging MATTHEW WALSH (“WALSH”) with transmitting in interstate or foreign

commerce any communication containing any threat to injure the person of another, in violation

of Title 18, United States Code, Section 875(c), as articulated in more detail below.

          3.     Because this affidavit is being submitted for the limited purpose of securing a

criminal complaint and arrest warrant, I have not included each and every fact known to me

concerning this investigation. I have set forth only those facts that I believe are sufficient to

establish probable cause to believe that a violation of the aforementioned statute exists.
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       4.        The information contained within the affidavit is based on my training and

experience, as well as information imparted to me by other agents and law enforcement officers

involved in this investigation.

                                        STATEMENT OF FACTS

       5.        On or about March 10, 2021, federal agents were on the main campus of

Louisiana State University (“LSU”) in Baton Rouge, Louisiana, for the purpose of making

contact with an individual unrelated to the instant investigation. On that date, while outside of

Patrick Taylor Hall on LSU’s campus, FBI Special Agent (“SA”) John McCarthy and another

government employee were approached by an individual who identified himself as WALSH.

WALSH engaged SA McCarthy in conversation, during which WALSH expressed his desire to

join the military and referenced his expertise in petroleum engineering, specifically hydraulics,

and molecules.

       6.        Subsequent to this interaction, SA McCarthy discussed the contact with FBI SA

Dustin Henry, and the two agents agreed to initiate a second contact with WALSH, in order to

further discuss WALSH’s stated interest and expertise.

       7.        On or about March 15, 2021, SA McCarthy observed WALSH to be present in

his office, which was located on the third floor of Patrick Taylor Hall on LSU’s campus. The

office space was further verified as being WALSH’s office by the presence of a nameplate

bearing WALSH’s name on the office door. SA McCarthy telephonically contacted SA Henry

and advised that WALSH was currently present in his office, providing an opportunity for the

two agents to speak to WALSH. Shortly thereafter, SA Henry arrived on campus. As SA Henry

approached Patrick Taylor Hall, he observed an individual matching WALSH’s known

description outside the building. SA Henry’s knowledge of WALSH’s description was based on
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a review of WALSH’s driver’s license and a description provided by SA McCarthy following

SA McCarthy’s in-person contact with WALSH on March 10, 2021. Upon identifying the

individual as WALSH, SA Henry decided to approach WALSH outside of Patrick Taylor Hall.

       8.      During this interaction, SA Henry asked WALSH if he was “Matt Walsh,” in

response to which WALSH confirmed that he was. SA Henry told WALSH that he was coming

to see him, introduced himself by first and last name, produced his FBI credentials and identified

himself as an FBI agent. According to SA Henry, WALSH reacted to SA Henry’s credentials

with a grimace, appearing somewhat incredulous. SA Henry assured WALSH that he was not in

trouble and told WALSH that he had met with the other government employee, who, along with

SA McCarthy, had previously been approached by WALSH. SA Henry told WALSH that he

wanted to “pick his brain.” WALSH asked SA Henry if he wanted to buy him lunch, to which

SA Henry replied not right now. WALSH told SA Henry if he wanted to talk, WALSH’s time

was worth something and it would cost SA Henry to speak with WALSH. SA Henry thanked

WALSH for his time and walked away.

       9.      On March 15, 2021, at approximately 3:07 p.m. Eastern Time, WALSH called

the FBI National Threat Operations Center (“NTOC”) to both report, and acquire information

regarding, an individual who claimed to be an FBI agent when he approached WALSH on

LSU’s main campus in Baton Rouge, Louisiana.

       10.     During this call to NTOC, WALSH provided his accurate first and last name,

date of birth (XX/XX/1980), cellular telephone number (985-415-XXXX), and a zip code local

to Baton Rouge, Louisiana. In addition, WALSH provided the following information regarding

the referenced encounter from his perspective: WALSH was walking out of work when he was

approached by someone claiming to be a federal agent. The man “flashed a badge,” introduced
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himself as “Dustin,” referenced having talked to another government employee, told WALSH he

was “not in trouble,” and asked if he could “pick [WALSH’s] brain.” When WALSH told the

man that he could buy him lunch if he wanted to talk, “Dustin” declined and left on foot.

WALSH expressed concern as to why he would be approached by the FBI and advised NTOC

that he was “a patriot” and would “gladly talk” to the FBI “if there’s a reason” that the FBI wants

to talk to him.

        11.       During WALSH’s call to NTOC, he did not acknowledge his March 10, 2021,

interaction with SA McCarthy and the other government employee.

        12.       On March 24, 2021, Complainant 1 (protected identity) contacted NTOC and

advised that WALSH had sent Complainant 2 (protected identity) an email on March 24, 2021,

at approximately 1:13 a.m. MDT. Complainant 1 advised NTOC of the nature of the relationship

between WALSH and Complainants 1 and 2 and further advised that Complainants 1 and 2

reside outside the State of Louisiana. Complainant 1 further stated that WALSH often sent

emails but described the referenced email communications as being “completely out of

character” for WALSH. In addition to the primary email, on which Complainant 2 was an

intended recipient, additional emails appeared in the same email chain. During this call,

Complainant 1 quoted directly from the email communications, noted a reference by WALSH to

the FBI having “the audacity to come after Matthew Walsh,” and expressed concern that

WALSH “was going to do something to the FBI.” Complainant 1 provided NTOC with

WALSH’s full name and email address (matthew.renato.walsh@[DOMAIN X]). Complainant 1

further advised that WALSH has a Ph.D. in Hydraulic Engineering and, as of the time of the call

on March 24, 2021, was employed as a professor in Baton Rouge, Louisiana.
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        13.     Continuing on March 24, 2021, the FBI subsequently obtained a copy of the email

chain referenced in Complainant 1’s call to NTOC. The primary email, of which Complainant 2

was one of approximately 51 recipients, was sent from matthew.renato.walsh@[DOMAIN X]

and stated, in full:

        SO YOU ALL KNOW
        THE FBI INTIMIDATED ME
        THEY THREATENED ME
        I THREATEN THE BACK
        I WILL CUT YOUR BALLS OFF AND FEED THEM TO THE FLOWERS AND SLIT
        YOUR BABY OUT OF YOUR PREGNANTS WIFE BELLY AND WATER THE
        FLOWERS WITH YOUR FAGGOT SON'S BLOOD
        DO YOU HEAR ME FBI
        I WILL FOREVER KILL YOU
        YOU HAVE NO RIGHT TO DRAW BREATH FBI
        COME AFTER ME ON A SIDEWALK
        YOU COWARD TRAITOR
        I WILL CUT YOUR BALLS OFF AND FEED IT TO THE FLOWERS
        YOU LET DOMESTIC TERRORISTS GO ALL SUMMER
        YOU CHEER FOR ANTIFI AND COMMUNIST BLM
        AND YOU CRACK DOWN ON ONE SINGLE ILL-ADVISED EVENT ON THE
        CAPITOL
        YOU SHOULD ALL TAKE A CHEESE GRATER TO YOUR FACE
        [PERSON A] AND [PERSON B] IF YOU DONT SEE IT AFTER ALL THIS I
        DONT KNOW WHAT TO SAY
        THE DEMOCRAT PARTY IS PURE EVIL
        FOR EVER AND FOR ALWAYS
        I AM DONE
        I WONT GIVE YOU ANY MORE OF MY INSIGHT
        GO FUCK YOURSELF
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       14.    Another email, within the same chain, sent from

matthew.renato.walsh@[DOMAIN X] on March 24, 2021, at approximately 1:45 a.m., states:

       YOU ARE WELCOME
       THANK ME WHEN YOU WANT
       IDIOTS STORMED THE CAPITOL
       THEY WERE TERRIBLE
       BUT FOR ALL SUMMER

       15.    Another email, within the same email chain, sent from

matthew.renato.walsh@[DOMAIN X] on March 24, 2021, at approximately 2:04 a.m., states:

       DOMESTIC TERRORISTS ALL SUMMER
       THAT HAPPENED
       AND THE FBI HAS THE AUDACITY TO COME AFTER MATTHEW WALSH
       COME AFTER ME
       I WILL KILL YOUR FAMILY
       PUT IT IN WRITING
       MATTHEW RENATO WALSH
       INTIMIDATE ME
       SEE WHAT HAPPENS

       16.    In the course of the investigation, the FBI learned that the Internet service

provider of DOMAIN X does not have data centers located in Louisiana or in the state of

residency of Complainants 1 and 2. On March 24, 2021, Complainants 1 and 2 were on vacation

in another city within their same state of residency. As such, the above-described email messages

sent via DOMAIN X would necessarily be transmitted across state lines via a data center located

in a state other than Louisiana and/or the state in which Complainants 1 and 2 reside and were

physically located when Complainant 2 received the above-described email on March 24, 2021.
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       17.    In the course of the investigation, the FBI obtained copies of additional emails,

also sent from matthew.renato.walsh@[DOMAIN X], during the early morning hours on March

24, 2021. The primary email message contained in this email chain was sent on March 24, 2021,

at approximately 2:10:42 MDT, and indicates several common recipients with the above-

referenced email communications provided by Complainant 1. One email within this chain, sent

on March 24, 2021, at approximately 2:24 a.m., states:

       THE FBI
       THEY THREATEN “WHITE SUPREMACISTS”
       THEY LET A WHOLE SUMMER OF BLM AND ANTIFA GO
       PICK YOUR BATTLE
       I WILL NOT BE INTIMIDATED
       WHOEVER CAME AFTER ME HAS A THROAT TO BE SLIT AND A BLOOD TO
       BE BLED ON A SIDEWALK
       PUT IT IN WRITING
       MATTHEW RENATO WALSH
       PUT IT ON THE CHEVRON SERVER CUNT
       FBI: YOU COME AFTER LOSERS WHO STORM THE CAPITOL LIKE ASSHOLES.
       GOOD FOR YOU. THOSE PPL NEED TO BE PUNISHED BUT YOU DO NOTHING
       ABOUT THE BLACK LIVES MATTER AND ANTIFI DOMMESTIC TERRORISTS
       WHO OVERRAN FEDERAL COURTHOUSES ND LOOTED AND BURNED ALL
       SUMMER
       SHAME ON YOU
       TAKE A CHEESE GRATER TO YOUR FACE
       ALSO [PERSON C] SUPPORTED BLACK LIVES MATTER
       HER IS A SUPPORTER OF DOMESTIC TERRORISM
       [PERSON C] SUPPORTS DOMESTIC TERRORISM

       18.    Another email, within the same email chain, sent from

matthew.renato.walsh@[DOMAIN X], on March 24, 2021, at approximately 2:28 a.m., states:
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       BUT I NEVER FUCKING SAID I WOULD KILL [PERSON D]
       SHOW ME PROOF SPOOK COWARD TRAITOR FBI?
       YOU FABRICATE WHITE SUPREMACY IN ATLANTA
       AND IGNORE MUSLIM BARBARISM IN BOULDER
       FUCK YOU
       COWARD TRAITOR FBI COMMUNIST SPOOK
       COME FOR MATT WALSH AND DIE

       19.     Another email, within the same email chain, sent from

matthew.renato.walsh@[DOMAIN X], on March 24, 2021, at approximately 2:31 a.m., states:

       AN FBI MAN CAME AT ME
       SHOW ME WHEN I SAID ANYTHING WORTHY OF THAT
       I WILL BEG FOR APOLOGY ON ME KNEES
       I REALLY WILL
       YOU COWARD TRAITORS
       GO SOLVE A CRIME YOU FUCKING LOSERS

       20.     Another email, within the same email chain, sent from

matthew.renato.walsh@[DOMAIN X], on March 24, 2021, at approximately 2:41 a.m., states:

       I KNEEL BEFORE NO MAN
       CAME AT MATT WALSH ON THE SIDEWALK SPOOK COMMIE
       YOU FUCKING CLOWN
       I WILL SLIT YOUR THROAT AND WATCH YOU BLEED OUT
       THAT IS A PROMISE

       21.     Based on the above information, I believe that there is probable cause to believe

that WALSH did transmit in interstate commerce a communication containing a threat to injure

the person of another, in violation of Title 18, United States Code, Section 875(c).
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       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.
                                                              Digitally signed by Briana
                                                 Briana Zuroske
                                                 __________________________
                                                              Zuroske
                                                              Date: 2021.04.01 12:14:03 -05'00'



                                                 Briana Zuroske, Special Agent
                                                 Federal Bureau of Investigation



Affidavit submitted by email/.pdf and attested to me as true and accurate by telephone consistent
with Federal Rules of Criminal Procedure 4.1 and 4(d) on the ____
                                                               1st day of day of April, 2021, at
Baton Rouge, Louisiana.


                                                       S
                                                 ___________________________________
                                                 HONORABLE SCOTT D. JOHNSON
                                                 UNITED STATES MAGISTRATE JUDGE
